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    5
      Attorneys for PLAINTIFFS in CASE 8:23-cv-00792
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    8                        UNITED STATES DISTRICT COURT
    9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   10
   11 In re: KIA and HYUNDAI
      IMMOBILIZER PRODUCTS                       CASE NO. 8:22-ml-03052-JVS-KES
   12 LIABILITY LITIGATION
   13                                            NOTICE OF ADDITIONAL
        This Document Relates to:                SUBROGATION PLAINITFFS
   14
        CASE 8:23-cv-00792
   15
   16        The Subrogation Plaintiffs identified herein are hereby incorporated into the
   17 complaint filed in The Standard Fire Insurance Company, et al. v. Hyundai Motor
   18 America, et al., Case Number 8:23-cv-00792 and ECF No. 1, and the Subrogation
   19 Plaintiffs’ Amended Consolidated Complaint filed in In re: Kia Hyundai Vehicle
   20 Theft Marketing, Sales Practices, And Products Liability Litigation, Case No. 8:22-
   21 ML-3052-JVS(KESx) (C.D. Cal.), ECF No. 283.
   22       1.    Plaintiff, ATLANTIC STATES INSURANCE COMPANY, is a
   23 corporation organized under the laws of the State of Pennsylvania, with a principal
   24 place of business located at 1195 River Road, Marietta, PA 17547-0302.
   25          2.     Plaintiff, DONEGAL MUTUAL INSURANCE COMPANY, is a
   26 corporation organized under the laws of the State of Pennsylvania, with a principal
   27 place of business located at 1195 River Road, Marietta, PA 17547-0302.
   28          3.     Plaintiff, GUIDEONE AMERICA INSURANCE COMPANY, is a

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    1 corporation organized under the laws of the State of Iowa, with a principal place of
    2 business located at 1111 Ashworth Road, West Des Moines, IA 50265.
    3          4.     Plaintiff, GUIDEONE ELITE INSURANCE COMPANY, is a
    4 corporation organized under the laws of the State of Iowa, with a principal place of
    5 business located at 1111 Ashworth Road, West Des Moines, IA 50265.
    6          5.     Plaintiff, GUIDEONE NATIONAL INSURANCE COMPANY, is a
    7 corporation organized under the laws of the State of Iowa, with a principal place of
    8 business located at 1111 Ashworth Road, West Des Moines, IA 50265.
    9          6.     Plaintiff, GUIDEONE SPECIALTY INSURANCE COMPANY, is a
   10 corporation organized under the laws of the State of Iowa, with a principal place of
   11 business located at 1111 Ashworth Road, West Des Moines, IA 50265.
   12          7.     Plaintiff, MESA UNDERWRITERS SPECIALTY INSURANCE
   13 COMPANY, is a corporation organized under the laws of the State of New Jersey,
   14 with a principal place of business located at 40 Wantage Avenue, Branchville, NJ
   15 07890.
   16          8.     Plaintiff, MICHIGAN INSURANCE COMPANY, is a corporation
   17 organized under the laws of the State of Michigan, with a principal place of business
   18 located at 1700 East Beltline N.E., Suite 100, Grand Rapids, MI 49525.
   19          9.     Plaintiff, MOUNTAIN STATES INDEMNITY COMPANY, is a
   20 corporation organized under the laws of the State of New Mexico, with a principal
   21 place of business located at 5051 Journal Center Boulevard, NE, Albuquerque, NM
   22 87109.
   23          10.    Plaintiff,   PHILADELPHIA           INDEMNITY           INSURANCE
   24 COMPANY, is a corporation organized under the laws of the State of Pennsylvania,
   25 with a principal place of business located at One Bala Plaza, Suite 100, Bala
   26 Cynwyd, PA 19004.
   27          11.    Plaintiff, SELECTIVE WAY INSURANCE COMPANY, is a
   28 corporation organized under the laws of the State of New Jersey, with a principal

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    1 place of business located at 40 Wantage Avenue, Branchville, NJ 07890.
    2          12.    Plaintiff, SOUTHERN INSURANCE COMPANY OF VIRGINIA,
    3 is a corporation organized under the laws of the State of Virginia, with a principal
    4 place of business located at 1195 River Road, Marietta, PA 17547.
    5          13.    Plaintiff, SOUTHERN MUTUAL INSURANCE COMPANY, is a
    6 corporation organized under the laws of the State of Georgia, with a principal place
    7 of business located at 360 Alps Road, Athens, GA 30606.
    8          14.    Plaintiff, THE PENINSULA INSURANCE COMPANY, is a
    9 corporation organized under the laws of the State of Pennsylvania, with a principal
   10 place of business located at 1195 River Road, Marietta, PA 17547.
   11          15.    Plaintiff,   THE   PREMIER      INSURANCE         COMPANY            OF
   12 MASSACHUSETTES, is a corporation organized under the laws of the State of
   13 Massachusetts, with a principal place of business located at One Cabot Road, Suite
   14 280, Hudson, MA 01749.
   15          16.    Plaintiff, THE TRAVELERS LLOYDS INSURANCE COMPANY,
   16 is a corporation organized under the laws of the State of Texas, with a principal
   17 place of business located at 1301 East Collins Blvd., Richardson TX 75081.
   18
   19 DATED: March 13, 2024         LAW OFFICES OF ROBERT A. STUTMAN, P.C.
   20
   21
                                    By:
   22
                                    Timothy E. Cary, Esq.
   23                               Daniel Hogan, Esq.
   24                               Attorneys for PLAINTIFFS in CASE 8:23-cv-00792

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    1                               PROOF OF SERVICE
    2            Kia and Hyundai Immobilizer Products Liability Litigation
                            Case No. 8:22-ml-03052-JVS-KES
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        STATE OF CALIFORNIA, COUNTY OF RIVERSIDE
    4
             At the time of service, I was over 18 years of age and not a party to this
    5 action.  I am employed in the County of Riverside, State of California. My business
      address is 1260 Corona Pointe Court, Suite 304, Corona, CA 92879.
    6
             On March 13, 2024, I served true copies of the following document(s)
    7 described   as NOTICE OF ADDITIONAL SUBROGATION PLAINTIFFS on
      the interested parties in this action as follows:
    8
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    9 the document(s) with the Clerk of the Court by using the CM/ECF system.
      Participants in the case who are registered CM/ECF users will be served by the
   10 CM/ECF system. Participants in the case who are not registered CM/ECF users will
      be served by mail or by other means permitted by the court rules.
   11
             I declare under penalty of perjury under the laws of the United States of
   12 America that the foregoing is true and correct and that I am employed in the office
      of a member of the bar of this Court at whose direction the service was made.
   13
             Executed on March 13, 2024, at Corona, California.
   14
   15
                                                      /s/ Kristi Marquardt
   16                                           Kristi Marquardt
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